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                               UNITED STATES DISTRICT COURT

                                             FOR THE

                                DISTRICT OF MASSACHUSETTS



SONYA LARSON

                       Plaintiff,                         Civil Action No.
v.
                                                          1;19-cv-10203-IT
DAWN DORLAND PERRY et al.,

                       Defendants.



 AFFIDAVIT OF SONYA LARSON, PLAINTIFF, DEFENDANT IN COUNTERCLAIM, IN
                            SUPPORT OF HER
                 MOTION TO DISMISS COUNTERCLAIM OF
     DEFENDANT, PLAINTIFF IN COUNTERCLAIM, DAWN DORLAND PERRY

       I, Sonya Larson, Plaintiff, Defendant in Counterclaim, on oath depose and state as
follows:

1.       I did a word count using Microsoft Word of the five variants I wrote of my short story,

The Kindest. I am told that each version of my story will be attached to the memorandum my

lawyer is filing in court. I also did a word count of the Dorland Letter. Here is what I found.

        Dorland's letter: 381 words long.

        Word length of the Brilliance version [Exhibit A]: 5,520 words; length of letter, 251

         words. The letter is 4.6% of the Story.

        Word length of the Audible version [Exhibit B]: 5,507 words; length of letter is 244

         words. The letter is 4.4% of the Story.

        Word length of the ASF version: 5,393 words [Exhibit C]; length of letter is 237 words.

         The letter is 4.4% of the Story.
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        Word length of the version submitted to BBF [Exhibit D]: 5,485 words; length of letter

         is 244 words. The letter is 4.4% of the Story.

        Word length of the Final BBF version: 5,511 words [Exhibit E]; length of letter is 268

         words. The letter is 4.9% of the Story.

2.       Exhibit E, the Final BBF version, is the last version of the story that I wrote.

3.       The average length of each of the variants of The Kindest [Exhibits A through E] is

         5,483.

4.       The average length of the letters in the five variants of The Kindest is 249 words.

5.       On average, the letters in each of the five variants of the Short Story comprise 4.5% of

         the Story.


         Signed under the pains and penalties of perjury this 15th day of May 2020.




                                                ___________________________________
                                                Sonya Larson
